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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

JOHN LLAMAS,                          )
     PLAINTIFF,                       )
                                      )
VS.                                   )     CIVIL ACTION NO.:
                                      )
PORTFOLIO RECOVERY                    )     4:10-cv-816
ASSOCIATES, LLC                       )
     DEFENDANT.                       )

                     NOTICE OF VOLUNTARY DISMISSAL

      It is hereby stipulated by and between plaintiff, John Llamas, and

defendant, Portfolio Recovery Associates, LLC, that Plaintiff’s Complaint

and all of Plaintiff’s claims and causes of action arising herein be, and the

same are, hereby dismissed with prejudice to plaintiff. The parties shall

bear their own court costs.

                                      Respectfully submitted,

                                      THE SWANEY LAW FIRM

                                      /s/ Robert T. Healey
                                      Robert T. Healey
                                      EDMO # 3356; Missouri Bar #34138
                                      Attorney at Law
                                      3460 Hampton, Suite 205
                                      St. Louis, MO 63139
                                      rhealey@swaneylawfirm.com
                                      telephone: (314) 481-7778
                                            fax: (314) 481-8479
